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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   McALLEN DIVISION


UNITED STATES OF AMERICA                       )
                                               )
               v.                              )
                                               )       Case No. 18-CR-0855
JORGE ZAMORA-QUEZADA                           )
                                               )
               Defendant.                      )
                                               )

      GOVERNMENT’S OPPOSED MOTION TO STRIKE; MOTION TO CONTINUE;
              AND MOTION TO CERTIFY CASE AS COMPLEX

       The United States of America, by and through undersigned counsel, hereby submits

motions as follows:

I.     Motion to Strike Late-Filed Motions

       1.      On May 15, 2018, the Court entered a scheduling order setting pre-trial deadlines

including “Motion Filing due by 5/29/18,” and set any responses “due by 6/18/18.” See ECF 13.

       2.      A month later, and thirteen days after the court-ordered deadline, the defendant

filed five separate motions seeking to dismiss the indictment, obtain a bill of particulars, release

seized funds, and to suppress evidence. See ECF 49-53. None of the motions include any reason

or explanation for this delay, nor did the defendant seek leave to file the motions after the deadline.

       3.      The Government moves to strike each of these motions as untimely.

II.    Motion to Continue Final Pretrial Conference

       4.      In addition to filing five substantive motions after the motion deadline, the

Defendant has not produced any reciprocal discovery (despite representing that there is reciprocal

discovery to produce), nor has the Defendant disclosed the experts he intends to use at trial (despite

representing to the court that he has retained experts in this case). For these reasons, the
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Government respectfully requests a continuance of the pretrial conference, currently scheduled for

July 2, 2018. The defendant’s delay in filing several substantive motions, producing reciprocal

discovery, and disclosing experts unjustly hinders the Government’s ability to prepare for trial.

Therefore, a continuance serves the ends of justice.

       5.      Defendant has not produced reciprocal discovery, despite his representation that

there is reciprocal discovery to produce. On May 28, 2018, the Government filed notice of its

request for reciprocal discovery. See ECF 38. On multiple occasions, counsel for the defendant

has informed the Government that he has reciprocal discovery to produce, including voluminous

patient files that have not been previously disclosed to the Government, and which the Defendant

intends to use at trial. However, to date the defendant has not produced a single page of discovery.

Nor has the defendant explained the delay in producing reciprocal discovery.

       6.      Defendant has not identified his experts or provided a written summary of their

testimony. Also on May 28, 2018, the Government filed notice of its request for the defendant to

produce a written summary of any testimony that the defendant intends to use under Rule 702,

703, and 705 of the Federal Rules of Evidence. See ECF 38. The Government has complied with

its obligations under Rule 16 and has provided the defendant with its expert disclosures. The

Defendant, however, has not provided any expert disclosures, despite having represented to the

Government and the Court that he has retained “experts” in this case. See ECF 48 (Motion for

Relief for Special Conditions of Visitation Pending Trial).

       7.      All of these facts, the late filing of motions, failure to produce reciprocal discovery,

and failure to make expert disclosures, makes the current final pretrial setting of July 2, 2018

impractical. The ends of justice will be served by a continuance of that setting, and outweigh the




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best interest of the public and the defendant in the current final pretrial setting. 18 U.S.C.

§ 3161(h)(7)(A).

III.    Motion to Certify Case as Complex

        8.      As defense counsel has acknowledged, this is a large and complex case. At

Defendant’s detention hearing before the Hon. Peter Ormsby, held on May 15, 2018, J.A. Canales

stated, “[I] had a discussion with opposing counsel that I think we’re going to have an agreement

that this can be certified as a complex case . . . I’m just informing the Court now.” Det. Hearing

Tr. 4:21-5:3.

        9.      Title 18, United States Code, Section 3161(h)(7)(B)(ii) permits the court to grant

exceptions from the default rules of the Speedy Trial Act where a case is especially “unusual” or

“complex.” The Government files this motion to certify the above referenced case as complex

pursuant to Section 3161(h)(7)(B)(ii) because the ends of justice are best served by doing so.

        10.     In support of this motion, the Government affirms that the prosecution of the instant

case is complex. Count One of the indictment charges a long-running health care fraud conspiracy

that will require, among other things, the examination of Medicare’s technical rules and

requirements, Medicare claims data, the standard of care relating to rheumatology, and facts

relating to the submission of numerous fraudulent health care claims. Count Seven of the

indictment charges a complex domestic and international money laundering conspiracy that will

require presentation of evidence relating to numerous transfers of money among several bank

accounts and corporate entities held by the defendant.

        11.     Additionally, the Government affirms that the prosecution of the instant case

involves unusually voluminous evidence. Count One and Count Seven each allege conspiracies

spanning nearly 18 years from 2000 to the date of the defendant’s arrest. The health care fraud



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conspiracy includes extensive and voluminous Medicare claims data, thousands of medical records

including both records of visits, testing and examination results (in some instances, with patient

records both from the defendant and other doctors who treated the patients after they were treated

by the defendant). The money laundering conspiracy evidence includes voluminous financial

records of the complex transactions the defendant used to conceal the proceeds of his fraud

involving numerous bank accounts and corporate entities, all of which occurred in multiple states

and in Mexico.

        12.    At present, the Government anticipates calling approximately 40 to 50 different

witnesses in its case-in-chief. This includes testimony from approximately seven practicing

rheumatologists (from across Texas) whose testimony will involve discussion of complicated

medical issues and financial experts who will testify about the defendant’s financial transactions.

The Government anticipates that it will take approximately three weeks to present its case-in-chief

at trial. The length will vary depending on how the case develops at trial and the extent of cross-

examination each witness faces from the defense. The defense case, if any, will be in addition to

this time.

        13.    As previously noted in the Government’s motion for detention hearing, the

investigation of the defendant remains ongoing. In just the past few weeks, the Government has

developed significant evidence relating to other crimes of the defendant. Based on this new

evidence, a superseding indictment is likely. Accordingly, continuance of a briefing schedule for

the defendant’s June 15 motions, as well as postponing the July 2, 2018 pre-trial conference, will

allow for the most efficient use of judicial resources—both in avoiding duplication and keeping

consolidated related cases and charges.




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       14.     The defendant’s detention does not alter the fact that this is a complex case which

requires more time for adequate preparation. See e.g., United States v. Stanford, 367 Fed. Appx.

507 (5th Cir. 2010) (decision affirming detention in case where defendant in mail and wire fraud

and money laundering scheme detained from indictment on June 18, 2009 to trial in January 2012)

United States v. Philip Esformes, 16 CR 20549 (S.D. Fla.) (defendant charged in health care fraud

and money laundering conspiracies detained on August 4, 2016 to the present awaiting trial

currently scheduled for October 2018); United States v. Pon, 2014 WL 3340584 (M.D. Fla. May

29, 2014) (affirming detention decision for defendant charged with health care fraud detained after

indictment between April 2014 indictment and September 2015 trial).

IV.    Conclusion

       15.     For the reasons set forth above, the Government respectfully requests that the Court

strike Defendant’s late-filed motions, Grant its motion to continue the final pretrial conference set

for July 2, 2018, and certify this case as complex.




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                              CERTIFICATE OF CONFERENCE
        I HEREBY CERTIFY that on June 19, 2018, at 8:32 AM, I emailed lead counsel of
record, J.A. Tony Canales, and asked if he opposed the Government’s motions. By early
afternoon, Mr. Canales requested copies of the motions to review, but did not state whether such
motions would be opposed or unopposed. Since counsel declined to state his position on the
motions, the Government is filing them as opposed.
                                            /s Andrew R. Swartz
                                            Assistant United States Attorney
                                            U.S. Attorney’s Office, SDTX
                                            1701 W. Highway 83, #600
                                            McAllen, TX 78501


                                   CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on June 19, 2018, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system and provided an electronic copy to the defendant’s
counsel of record.
                                            /s Andrew R. Swartz
                                            Assistant United States Attorney
                                            U.S. Attorney’s Office, SDTX
                                            1701 W. Highway 83, #600
                                            McAllen, TX 78501




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